GEORGE S. HOOVER AND TITLE INSURANCE &amp; TRUST CO., EXECUTORS, ESTATE OF GEORGE W. HOOVER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hoover v. CommissionerDocket No. 25737.United States Board of Tax Appeals20 B.T.A. 906; 1930 BTA LEXIS 2006; September 22, 1930, Promulgated *2006  From evidence produced at the hearing the value, for estate-tax purposes, of the Pasadena property is determined agreeably to petitioner's estate-tax return, and for lack of sufficient evidence to the contrary the determination of the Commissioner as to the value, for estate-tax purposes, of the Hollywood or Los Angeles property, is approved.  Ingall W. Bull, Esq., for the petitioners.  Frank T. Horner, Esq., for the respondent.  SEAWELL*906  The Commissioner determined a deficiency in estate tax for the year 1924 in the amount of $1,190.99.  The deficiency is due to the increased valuations made by the Commissioner over the valuations returned by petitioners of two pieces of real estate and the inclusion in decedent's gross estate of certain miscellaneous personal property.  Only the valuations placed by the Commissioner on the real estate are now in controversy, all petitioner's complaints relative to the personalty being abandoned.  The case is submitted on the pleadings, certain stipulations, and the testimony of one witness, FINDINGS OF FACT.  The petitioners are residents of Los Angeles County, California.  George W. Hoover, the decedent, *2007  died January 28, 1924.  The petitioners are the duly appointed, qualified and acting executors of his estate.  At the date of decedent's death he owned real estate on the northwesterly corner of Vine and Hollywood Boulevard, in Hollywood, now a part of Los Angeles, Calif., and other real estate on Colorado Street in the city of Pasadena, Calif.The Pasadena real estate was returned by the executors of the decedent's estate at a valuation of $22,500.  The determination of the Commissioner as to it was $25,000.  For five or six years prior to the death of decedent efforts were made to sell this property at prices ranging as low as $22,000, without avail.  After the death of decedent, these efforts were continued by his executors, but no one would purchase at as much as $22,000, and the property was sold in 1928 at $20,000.  The value of the Hollywood or Los Angeles property in the return of the executors was $379,000 and, as determined *907  by the Commissioner, $400,000.  This property was sold by the executors on November 13, 1924, at $400,000.  At the date of the decedent's death the fair market value of the Pasadena property was $22,500.  The fair market value of the Hollywood*2008  or Los Angeles property at date of decedent's death is not shown by the evidence.  OPINION.  SEAWELL: The Commissioner in making his determination raised the valuation placed upon the Pasadena property in petitioner's return from $22,500 to $25,000; and the valuation on the Los Angeles property from $379,000 as returned by petitioner to $400,000.  There is a presumption of the correctness of the Commissioner's determination.  The evidence shows that efforts were made over a period of years before and covering the date of the decedent's death to sell the Pasadena property, but without avail, it being finally sold in 1928 for $20,000.  It was, however, rented both before and after the decedent's death for $250 per month, a very fair return on the valuation, $22,500, at which petitioners reported it - making due allowance for the usual expense of insurance and taxes.  After giving proper consideration to all the evidence touching the value of this property at time of the decedent's death, we are of the opinion that its fair market value on said date was $22,500 as reported by petitioners in their tax return and stated in our findings of fact, and we so hold.  The evidence shows*2009  that prior to decedent's death the construction of two very substantial business buildings in the vicinity of the Los Angeles or Hollywood property was begun and was completed after his death and within less than a year thereof.  The commencement of the erection of the two business buildings - one a twelve or thirteen-story building - as shown in the evidence, evidently increased the value of the Hollywood or Los Angeles property of the decedent as indicated by the early sale of the property thereafter, on November 12, 1924, at $400,000, the value determined by the Commissioner.  Since there was insufficient evidence adduced to overcome the presumption of the correctness of the Commissioner's determination as to said valuation, the same is accordingly approved.  Judgment will be entered under Rule 50.